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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN


    SCOTT DENING, an individual,

          Plaintiff,

    v.                                                     Civil Action No. 1:23-CV-1117
    GLOBE LIFE AMERICAN INCOME
    DIVISION a/k/a AMERICAN INCOME
    LIFE INSURANCE COMPANY, and
    GLOBE LIFE INC.

          Defendants.


         GLOBE LIFE INC.’S MOTION TO DISMISS FOR LACK OF PERSONAL
                               JURISDICTION

         Defendant Globe Life Inc. (“Globe Life”) moves to dismiss Plaintiff Scott Dening1

(“Plaintiff”)’s Complaint under Fed. R. Civ. P. 12(b)(2) because this Court lacks personal

jurisdiction over Globe Life. Plaintiff is a former employee of American Income Life Insurance

Company (“AIL”). AIL terminated Plaintiff on May 19, 2023, and Plaintiff has sued both AIL

and its parent company, Globe Life, for wrongful discharge in violation of the Michigan

Whistleblowers Protection Act. Plaintiff pleads no facts to establish personal jurisdiction over

Globe Life, a Delaware corporation with its principal place of business in Texas, Compl. ¶ 5,

PageID.17, and a company that never employed Plaintiff. Because Globe is not “at home” in

Michigan and has not taken any actions directed at Michigan to “purposefully avail” itself of

Michigan law in connection with Plaintiff’s Complaint, the Court lacks personal jurisdiction over




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  On information and belief, it is Globe Life’s understanding that the correct legal spelling of
Plaintiff’s last name is “Dehning,” but refers to him herein using the spelling in the caption of the
Complaint filed by Plaintiff.


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Globe Life and it should be dismissed from this lawsuit. See Sullivan v. LG Chem, Ltd., 79 F. 4th

651 (6th Cir. 2023); Buxton v. Hartin Asset Mgmt., LLC, No. 1:22-cv-600, 2023 WL 4861724, at

*5-6 (W.D. Mich. July 31, 2023).

        For the foregoing reasons and those articulated in the accompanying brief in support of this

motion and the accompanying declaration, Globe Life respectfully requests that the Court dismiss

it from this lawsuit for lack of personal jurisdiction. 2


Dated: October 30, 2023                                 Respectfully submitted,

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  Pursuant to Local Rule 7.1(d), counsel for Globe Life reached out to Plaintiff’s counsel to inquire
if they would oppose the motion, but received no response to this request and assumes the motion
is opposed.


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